






07-03-0507-CV


07-04-0001-CV


07-04-0002-CV





IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 20, 2004



______________________________




BETTY ANN NEWBY, APPELLANT



V.



SHERIA ANN EVANS, ET AL., APPELLEE




_________________________________




Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

ORDER STRIKING MOTIONS


	On March 15, 2004, Betty Ann Newby (Newby) presented a Motion for Extension
of Time to File Motion for Rehearing and a Motion for Rehearing to the clerk for filing. 
Neither motion set out an appellate cause number in which the documents were to be filed. 

	By letter dated March 29, 2004, the clerk advised Newby that the motions had not
been filed with the papers of any appeal because the motions lacked designation of the
appeals in which they were to be filed.  The clerk's letter also advised Newby that the court
had directed the motions to be redrawn; that the redrawn motions were to designate an
appellate cause number in which the motions were to be filed; and that failure to file
redrawn motions on or before April 8, 2004, would result in the motions being stricken.

	No redrawn motions have been filed.  The motions are stricken.

	The clerk is directed to file a copy of this order in each appellate cause now pending
or which has been pending in this court during calendar year 2004 and in which Newby is
or has been a named party.  

							Per Curiam.
















1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.

